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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:16-CR-0038 MCE

12                                 Plaintiff,             [PROPOSED] ORDER CANCELLING WRIT AD
                                                          TESTIFICANDUM
13                          v.

14   JAMAL SHEHADEH, ET AL.,
                                                          DATE:
15                                Defendants.             TIME:
                                                          COURT: Hon. Morrison C. England, Jr.
16

17          Upon request of the United States, the Writ of Habeas Corpus ad Testificandum issued by United

18 States Magistrate Judge Kendall J. Newman on February 1, 2018 for witness Alfonso Martinez (CDC

19 #BC2312) IS HEREBY CANCELLED. United States District Court Judge Morrison C. England has

20 vacated the February 26, 2018 trial date in this case in light of defendant Jamal Shehadeh’s guilty plea

21 and the government has stated that Alfonso Martinez’s testimony is therefore no longer necessary.

22          The custodian currently responsible for Alfosno Martinez (CDC #BC2312) at the Ironwood State

23 Prison, and the United States Marshal’s Service for this district, are hereby informed and instructed that

24 Martinez’s appearance is no longer required in this Court on February 26, 2018, and that Martinez

25 should not be transferred to federal custody for purposes of testifying at trial in this case. If Martinez’s

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      [PROPOSED] ORDER                                    1
           Case 2:16-cr-00038-DC-CKD Document 194 Filed 02/13/18 Page 2 of 2

 1 transfer has begun, upon receipt of this order, he should be returned to the custody of the detaining

 2 facility, Ironwood State Prison.

 3          IT IS SO ORDERED.

 4
     Dated: February 13, 2018
 5                                                EDMUND F. BRENNAN
                                                  UNITED STATES MAGISTRATE JUDGE
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      [PROPOSED] ORDER                                  2
